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Attorneys for the Plaintiff

                        IN THE UNITED STATES DISTRICT COURT
                     IN AND FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

TERRY HARRINGTON, individually           )
and in his capacity as the father of     )
NICOLE ANTOINETTE HARRINGTON, )              Civil Nos. 4-05-CV-00178-RP-TJS
                                         )               05-CV-00255
                 Plaintiff,              )               03-CV-90616
                                         )
        vs.                              )
                                         )
COUNTY OF POTTAWATTAMIE,                 )   PLAINTIFF’S MOTION FOR
        IOWA,                            )   SCHEDULING CONFERENCE TO
CITY OF COUNCIL BLUFFS, IOWA,            )   SET TRIAL DATE
DAVID RICHTER, in his individual and     )
        official capacities,             )
JOSEPH HRVOL, in his individual and      )
        official capacities,             )
DANIEL C. LARSEN, in his individual      )
        and official capacities,         )
LYLE W. BROWN, in his individual and )
        and official capacities, and     )
JOHN DOES ONE THROUGH NINE,              )
        in their individual and official )
        capacities,                      )
                                         )
                 Defendants.             )
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            Comes now Plaintiff, Terry Harrington, by and through counsel, and hereby moves this

Court to set a date for a Scheduling Conference to Set Trial Date due to the fact that on

December 19, 2008, the United States Court of Appeals for the Eighth Circuit issued its Mandate

regarding its November 21, 2008 Opinion and Judgment affirming in part, and reversing in part,

the decision of the United States District Court for the District of Iowa.



       WHEREFORE, plaintiffs respectfully request a scheduling conference with Judge Pratt

 to set a trial date at the earliest possible time to resolve the claims of plaintiffs in all matters

 allowed by the November 21, 2008 ruling of the United States Court of Appeals for the Eighth

 Circuit.



    DATED this 19th day of December, 2008.

    Respectfully submitted,


                                                      s/ Mel C. Orchard, III
                                                      Gerry L. Spence
                                                      J. Douglas McCalla
                                                      Mel C. Orchard, III
                                                      The Spence Law Firm, LLC
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 19th day of December, 2008 a true and correct copy of the
foregoing JOINT MOTION FOR SCHEDULING CONFERENCE AND TRIAL DATE
was served upon counsel named below, at the addresses set out below by CM/ECF electronic
filing.

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